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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SHERRI CAIN,

          Plaintiff,                                         Case No. 1:16-cv-04836

 v.                                                          Honorable Judge Elaine E. Bucklo

 OCWEN LOAN SERVICING, LLC,

          Defendant.


                RESPONSE TO OCWEN LOAN SERVICING, LLC’S
                    MOTION FOR SANCTIONS [DKT #64] AND
        REQUEST TO TRANSFER TO THE HONORABLE JOAN B. GOTTSCHALL


         Nicholas Heath Wooten, one of the respondents, and on behalf of all respondents, files

herein this response to Ocwen Loan Servicing, LLC’s motion for sanctions [DKT #64] and request

to transfer this motion for sanctions to the Honorable Joan B. Gottschall for hearing and

determination. As grounds therefore, the undersigned counsel shows as follows:

                                         INTRODUCTION

         Ocwen brought the instant motion for sanctions before this Court without disclosing relevant

material facts to the Court. Ocwen failed to inform the Court its counsel had sent a letter to respondent

Mohammed O. Badwan (“Badwan”) requesting a certification that any confidential documents from

any previously settled Ocwen case that may have been retained be destroyed on June 1, 2018. See

Exhibit A, attached hereto. Ocwen failed to inform the Court that respondent Badwan made the

certification Ocwen requested on June 13, 2018. See Exhibit B, attached hereto. Ocwen failed to

inform the Court that after the certification was made there was no further communication with any

respondent on these issues before the filing of the present motion.

         Ocwen also failed to inform the Court that Ocwen had already received all the relief Ocwen
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has requested in the instant motion other than the request for an award of attorney’s fees and costs.

Ocwen also failed to inform the Court that the purportedly “confidential” documents (2 pages) were

part of an exhibit to a Rule 30(b)(6) deposition of Ocwen in the Cain case. As explained in detail

below, Ocwen failed to designate any of the testimony or the exhibits from the Cain 30(b)(6)

deposition as confidential, effectively removing the protected status of the deposition testimony and

inclusive exhibits. Ocwen also fails to inform the Court that during the Saccameno trial Judge

Gottschall invited Ocwen to present any jury instruction it wished to bring regarding the questions

asked related to the documents in question. Ocwen did not offer any jury instruction on the documents

to Judge Gottschall. Furthermore, Ocwen has not argued in its post-trial motions filed in Saccameno

that Ocwen was in any way harmed or prejudiced by the conduct that is the subject of this motion.

                           STANDARD FOR IMPOSING SANCTIONS

        Any sanctions imposed pursuant to the court's inherent authority must be premised on a

finding that the culpable party willfully abused the judicial process or otherwise conducted the

litigation in bad faith. See Chambers, 501 U.S. at 50, 111 S. Ct. at 2135-36; Secrease, 800 F.3d at

401; Trade Well Int'l v. United Cent. Bank, 778 F.3d 620, 626 (7th Cir. 2015) (negligence is

insufficient to support a finding of bad faith). Rule 37 itself does not specify a requisite mental state,

but in Societe Internationale pour Participations Industrielles et Commerciales, S. A. v. Rogers, 357

U.S. 197, 212, 78 S. Ct. 1087, 1096, 2 L. Ed. 2d 1255 (1958), the Supreme Court concluded that Rule

37 should not be construed to authorize dismissal of an action when a plaintiff's failure to comply

with his discovery obligations was due to his inability to comply rather than his "willfulness, bad

faith, or any fault." See also Nat'l Hockey League v. Metro. Hockey Club, Inc., 427 U.S. 639, 640, 96

S. Ct. 2778, 2779, 49 L. Ed. 2d 747 (1976) (per curiam) (reaffirming that holding). Fault, in contrast

to willfulness or bad faith, does not require a showing of intent, but presumes that the sanctioned party
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was guilty of "extraordinarily poor judgment" or "gross negligence" rather than mere "mistake or

carelessness." Marrocco v. Gen. Motors Corp., 966 F.2d 220, 224 (7th Cir. 1992); Long v. Steepro,

213 F.3d 983, 987 (7th Cir. 2000) ("[f]ault in this context suggests objectively unreasonable

behavior"); see also E360 Insight, Inc. v. Spamhaus Project, 658 F.3d 637, 642-43 (7th Cir.

2011) (distinguishing degree of fault necessary to support dismissal or default from that necessary to

support lesser sanctions). Ramirez v. T&H Lemont, Inc., 845 F.3d 772, 776 (7th Cir. 2016). Although

Rule 37(b) applies to all failures to comply with court orders, whether willful or not, presence or lack

of good faith in parties is relevant to orders which should be given. B. F. Goodrich Tire Co. v. Lyster,

328 F.2d 411 (5th Cir. 1964). Good faith dispute concerning discovery question might constitute

“substantial justification” amounting to special circumstances to excuse failure to comply with motion

for discovery and relieve party from sanctions. Liew v. Breen (9th Cir. Cal. Mar. 20, 1981), 640 F2d

1046.

                                            ARGUMENT

    1. Ocwen’s motion for sanctions claims that counsel for Plaintiff Sherri Cain (“Cain”) should be

sanctioned for violating the confidentiality order [DKT #17] entered on November 2, 2016.

    2. The incident that gives rise to this motion occurred during the jury trial of Saccameno v.

Ocwen (Case No. 1:15-cv-01164) before the Honorable Joan B. Gottschall on April 6, 2018.

    3. On April 11, 2018, the jury in Saccameno ultimately returned a verdict of $3,582,000 in favor

of the plaintiff (Saccameno) and against the defendant (Ocwen).

        A. Request to Transfer Ocwen’s Motion [DKT #64] to Judge Gottschall

    4. For the following reasons, the undersigned counsel requests that this Court transfer Ocwen’s

motion for sanctions [DKT #64] to Judge Gottschall for hearing and determination:

            a. Judge Gottschall personally observed the underlying conduct.
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      b.   Judge Gottschall has first-hand knowledge of the impact that the use of these

           documents had on the trial, if any.

      c.   Judge Gottschall observed the demeanor of all counsel and heard arguments and

           explanations from all counsel at the time of the incident in question.

      d. Ocwen requested sanctions for this very conduct during the Saccameno trial, which

           Judge Gottschall rejected.

      e.   Judge Gottschall invited Ocwen to provide any “curative” instruction it wished her to

           consider related to the questions about the documents. Ocwen failed to request any

           instruction related to the questions regarding the documents during the Saccameno

           trial.

      f. There is nothing unique or particularized about this circumstance that requires this

           Court to hear this motion rather than Judge Gottschall. The confidentiality order in

           this case is the Northern District’s form protective order with which every Judge in

           the District is familiar.

      g. Because the “offense” asserted by Ocwen in the instant motion occurred during the

           jury trial before Judge Gottschall, she is in the best position to determine if the

           “offense” violated the underlying confidentiality order and Seventh Circuit

           jurisprudence, or if there was any impact on the trial, or if Ocwen suffered any harm

           or prejudice due to the questions asked.

      h. On April 6, 2018, when the conduct at issue occurred, Ocwen’s trial counsel asked

           Judge Gottschall to impose sanctions subject to the settlement agreement in Cain.

           Judge Gottschall refused to impose sanctions at that time. However, Judge Gottschall

           stated that Ocwen could file a written motion if they wished to pursue sanctions. See
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               Exhibit C attached, Trial Tr. at 706-710; 711:1-13 [Saccameno DKT #285].

           i. Ocwen’s counsel in Saccameno never sought sanctions through a written motion and

               never raised the conduct at issue in its post-trial motions.

           j. Instead, on July 23, 2018 (more than 90 days later), Ocwen, acting through separate

               counsel (Locke Lord), filed the instant motion for sanctions complaining of the

               identical actions presented to Judge Gottschall on April 6, 2018. Id.

           k. This motion for sanctions is premised upon the protective order emanating from this

               Court in the Cain litigation rather than the Cain settlement agreement.

           l. The filing of the instant motion for sanctions followed the first business day after

               Ocwen filed its post-trial motions in Saccameno and the timing of the filing appears

               to have been coordinated by Ocwen to interfere with Saccameno’s responses to

               Ocwen’s post-trial motions.

           m. In fact, the response to this motion has substantially interfered with undersigned

               counsel’s ability to respond to Ocwen’s post-trial motions in Saccameno such that

               undersigned counsel has been forced to seek a lengthy extension of the briefing

               schedule in Saccameno to accommodate the response to the motion for sanctions.

           n. Because Ocwen already sought sanctions for this conduct and was initially rebuffed

               by Judge Gottschall, it appears that Ocwen is seeking a second bite at the apple and/or

               forum shopping for a different ruling in this Court. Id.

   5. Alternatively, this Court should deny Ocwen’s motion because the protective order was not

violated. If undersigned counsel’s understanding of the confidential status of the documents in

question is determined to be wrong, then it should still be readily apparent that undersigned counsel

had a good faith and reasonable belief that the documents were no longer confidential. If undersigned
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counsel was incorrect in his understanding of the confidential status of the documents at the time he

sought to question Ocwen about the two pages, it follows that what transpired in the Saccameno trial

was an accidental and technical violation of the confidentiality order and that the violation was an

innocent mistake.

    6. Further, if counsel was mistaken in his interpretation related to the status of these documents,

then the mistake was ultimately harmless to Ocwen and Ocwen suffered no prejudice because of the

incident in question.

        B. The Underlying Protective Order was Not Violated

    7. Ocwen correctly states that the underlying document was initially designated “confidential”

by Ocwen when tendered in written discovery.

    8. Ocwen conveniently fails to disclose that, as a matter of course, Ocwen designates every

document it produces in written discovery in every case in the district as confidential.

    9. This designation is made without regard to whether or not the document meets the Circuit

standard for confidential treatment.

    10. Astonishingly, Ocwen did not inform the Court that the documents in question were part

of an exhibit to Ocwen’s 30(b)(6) deposition taken during the Cain case.

    11. Ocwen’s corporate representative in Cain gave testimony on May 9, 2017. Undersigned

counsel took Ocwen’s testimony on this date. See Exhibit D generally.

    12. Paragraph 4 of the protective order states:

            4. Depositions – Unless all parties agree on the record at the time the deposition
            testimony is taken, all deposition testimony taken in this case shall be treated as
            Confidential Information until the expiration of the following: No later than the
            fourteenth day after the transcript is delivered to any party or the witness, and in
            no event later than 60 days after the testimony was given, Within this time period,
            a party may serve a Notice of Designation to all parties of record as to specific
            portions of the testimony that are designated Confidential Information, and
            thereafter only those portions identified in the Notice of Designation shall be
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           protected by the terms of this Order. The failure to serve a timely Notice of
           Designation shall waive any designation of testimony taken in that deposition as
           Confidential Information, unless otherwise ordered by the Court.

   13. On August 1, 2017, the Cain matter was dismissed by stipulation due to a settlement

between the parties, with leave to reinstate through September 25, 2017. [DKT #63.]

   14. At no time between May 9, 2017 and September 25, 2017 did Ocwen designate any portion

of this deposition confidential as required by paragraph 4, let alone the documents at issue.

   15. Needless to say, more than 60 days passed after the Rule 30(b)(6) deposition with no

designations of confidentiality.

   16. Paragraph 6 of the protective order states:

           6. Inadvertent Failure to Designate. An inadvertent failure to designate a
           document as Confidential information does not, standing alone, waive the right to
           so designate the document; provided, however, that a failure to serve a timely
           Notice of Designation of deposition testimony as required by this Order, even
           if inadvertent, waives any protection for deposition testimony.…No party
           shall be found to have violated this Order for failing to maintain the
           confidentiality of material during a time when that material has not been
           designated Confidential Information, even where the failure to so designate was
           inadvertent and where the material is subsequently designated Confidential
           Information. (Emphasis added.)

   17. Ocwen does not explain that the documents in question were no longer confidential as of

July 12, 2017.

   18. Therefore, by Ocwen’s own conduct, the documents in question are not confidential.

   19. Ocwen is only able to make its claim that the confidentiality order was violated by omitting

these undisputed facts surrounding the Rule 30(b)(6) deposition and by entirely ignoring the

remaining provisions of the protective order.

       C. Any Violation Was Harmless and the Result of an Innocent Mistake

   20. Ocwen claims that the document was used to help Saccameno in the trial, resulting in harm

to Ocwen. What should be telling is Ocwen’s decision to withhold the document from this Court
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without including a description of the document, or offering any explanation as to how very limited

questions about two pages of an Ocwen notes log actually caused any harm to Ocwen.

   21. Ocwen should be required to produce this document for the Court to conduct an in camera

review.

   22. The document in question consists of two (2) total pages taken from Ocwen’s standard

servicing notes from Ocwen’s loan servicing system of record (RealServicing) that were a part of an

exhibit from the Cain 30(b)(6) deposition.

   23. The notes log itself usually consists of hundreds of pages for a borrower’s mortgage loan

account.

   24. The notes log is simply Ocwen’s business record, maintained in a chronological fashion, of

its interactions with the mortgage borrower and its actions taken while servicing the borrower’s

mortgage loan account.

   25. The notes log is available to every Ocwen employee in Ocwen’s servicing department. Id at.

pp. 97:19-98:8, 106:15-107:22.

   26. Ocwen is well aware that the notes log is readily accessible to thousands of employees and

certain non-employee vendors who have “read-only” access to the notes log.

   27. Ocwen also is well aware that the notes log is never maintained as a confidential document in

the ordinary course of Ocwen’s business, that the notes log contains no trade secrets or proprietary

information, and the notes log is primarily a factual history of servicing of a borrower’s mortgage

loan account.

   28. The notes log in the Cain case formed the very structure of the Ocwen deposition. The notes

log was referenced throughout the Ocwen deposition in Cain and is the subject of the testimony over

roughly 70% of the pages in the Ocwen deposition for the Cain case.
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   29. During the trial in Saccameno, Ocwen’s corporate representative made a categorical assertion

that Ocwen had never improperly coded a bankruptcy case as dismissed rather than discharged.

   30. Undersigned counsel knew that testimony to be false based upon Ocwen’s testimony in the

Cain case. The two pages in question were intended to impeach Ocwen’s contradictory testimony in

the Saccameno matter.

   31. Undersigned counsel could not have possibly broached the issue of using the documents in

question prior to the trial because undersigned counsel could not have been expected to know that

Ocwen would make such a false categorical statement in the presence of the jury.

   32. When the undersigned counsel brought the documents to the Court’s and Ocwen’s attention

the next morning, Ocwen objected. The documents were discussed outside the presence of the jury.

Judge Gottschall ruled that Ocwen could be questioned on the documents.

   33. The two pages in question dealt with Ocwen coding the Cain loan as “dismissed” instead of

“discharged.” Id. at pp. 97:19-98:8, 106:15-107:22.

   34. While the undersigned counsel intended to impeach Ocwen with these pages, it is clear from

Exhibit C that Ocwen’s previous testimony was not impeached by these documents and that the

documents were never admitted into evidence or published to the jury. In fact, Ocwen’s testifying

witness curiously could not authenticate the document, explain the document, or provide any

meaningful testimony about the document. See Exhibit C attached.

   35. Undersigned counsel believed that the documents in question were not confidential because

they were part of Ocwen’s deposition from the Cain case and Ocwen had not designated any portion

of that deposition as confidential as required by paragraphs 4 and 6 of the protective order.

   36. Therefore, undersigned counsel believed he was free to use these documents to impeach

Ocwen’s testimony in Saccameno.
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   37. Undersigned counsel made the decision to use these two pages of documents alone.

   38. No other respondent to this motion for sanctions had any advance knowledge of undersigned

counsel’s decision regarding this trial strategy. The pages in question were pulled from undersigned

counsel’s own system of record and not from the records of any other respondent.

   39. Mr. Hijazin was not involved in the Saccameno trial and was not aware of this issue prior to

Ocwen’s filing of the instant motion.

   40. Mr. Sulaiman was at the Saccameno trial as an observer and was not aware of the use of these

documents until they were presented to the Court. Mr. Sulaiman had no knowledge of the confidential

or not confidential status of the documents in question at the time they were presented to the Court

during the Saccameno trial.

   41. Mr. Badwan was not aware undersigned counsel intended to use these documents for cross

examination until they were offered to the Court.

   42. No respondent other than undersigned counsel had any role in the conduct in question.

       D.      Ocwen Received All the Relief it has Requested Here by June 13, 2018

   43. After the Saccameno trial ended, Ocwen, through Locke Lord, contacted undersigned counsel

via letter dated June 1, 2018 requesting a certification that any documents from any previously settled

Ocwen case that may have been retained be destroyed. See Exhibit A attached.

   44. Upon receipt of Exhibit A, the undersigned counsel instructed his paralegal to destroy any

Ocwen documents in his firm’s possession without regard to whether they were confidential or not

for any settled or closed Ocwen file for his firm. The undersigned counsel informed Mr. Badwan that

he had done so.

   45. On June 13, 2018, Mr. Badwan made the requested certification to Ocwen’s counsel. See

Exhibit B attached.
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    46. After this certification was made to Ocwen’s counsel, undersigned counsel heard nothing else

about this issue until the instant motion was filed.

    47. Undersigned counsel enjoys a very collegial professional relationship with Ocwen’s counsel

who has brought the instant motion for sanctions.

    48. Based upon our prior course of dealings together, undersigned counsel would have expected

any concerns about the certification made to Ocwen by Mr. Badwan to have been brought to his

attention directly by Ocwen’s counsel. Undersigned counsel heard nothing before this motion was

filed.

    49. Further, all respondents to this motion had done the things requested by Ocwen in the instant

motion no later than June 13, 2018 with the obvious exception of paying attorney’s fees and costs to

Ocwen. That is, all respondents had certified the destruction of any confidential documents from any

resolved Ocwen litigation which covers Ocwen’s request numbered 1 and 2 in the present motion.

    50. After the instant motion was filed the undersigned counsel spoke with counsel for Ocwen and

assured him that the undersigned retained no documents produced under a protective order from any

Ocwen file that he was involved with that was not currently in active litigation.

    51. Undersigned counsel is concerned that Ocwen forced the filing of this motion both to attempt

to extract a sanction against the trial counsel team in the Saccameno case and to take valuable time

away from undersigned counsel’s efforts to respond to the post-trial motions filed in Saccameno.

    52. Further, the filing of this motion by Ocwen resulted in media coverage that cast the

respondents in a negative light. See article from Law 360 attached as Exhibit E.

         D. Nick Wooten is the Only Proper Respondent

    53. The undersigned (Wooten) is lead counsel in both this matter and the Saccameno matter.

    54. Ocwen’s motion names four other attorneys: Ahmad Sulaiman, Mohammed Badwan, Majdi
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Hijazin, and Dan McGarry. These attorneys had nothing to do with the allegedly offending conduct.

   55. All of the complained of actions were taken by the undersigned counsel (Wooten) and by no

one else. More specifically:

               a. Dan McGarry was not an employee of Sulaiman Law Group, Ltd. at the time of the
                  alleged conduct, and he was not involved in the Saccameno trial in any fashion (Mr.
                  McGarry’s motion to withdraw in Cain was granted on August 21, 2018 and, upon
                  consideration of Mr. McGarry’s Affidavit, Ocwen withdrew its Motion for Sanctions
                  as to Mr. McGarry only).
               b. Majdi Hijazin was the undersigned’s co-counsel in this matter (Cain), but Mr. Hijazin
                  had no role in the Saccameno trial.
               c. Mohammed Badwan was the undersigned’s co-counsel in Saccameno, but Mr.
                  Badwan had no role in this case (Cain).
               d. Ahmad Sulaiman is the owner of Sulaiman Law Group, Ltd. with appearances filed
                  in both cases, but Mr. Sulaiman had no active role litigating either case.

   56. If there is a party to be sanctioned in this matter, it would be the undersigned counsel and no

other counsel of record in Cain.

   57. As such, the undersigned counsel is the actual and only proper target of Ocwen’s motion for

sanctions, and the undersigned counsel requests that the remaining respondents be dismissed from

this motion.

   58. Further, undersigned counsel has practiced law for twenty years and has never been

sanctioned by any Court. This is despite undersigned counsel practicing in multiple State and Federal

Courts during his career.

   59. Lastly, undersigned counsel requests a hearing on this motion where undersigned may appear

and be questioned about the conduct in question and address the motion with the Court and opposing

counsel. Undersigned believes that it is critical to have an in person hearing to address any concerns

the Court may have about this motion or any of undersigned’s conduct relevant to this motion.

Undersigned counsel feels that it is important for the Court to hear from counsel personally since

undersigned has not yet had the opportunity to appear before the Court in any proceeding.
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      WHEREFORE, the undersigned counsel respectfully requests that the Court issue an order:

          a. Dismissing respondents Sulaiman, Hijazin and Badwan from this motion;
          b. Transferring this motion to Judge Gottschall’s docket for further proceedings; or
          c. Setting this matter for hearing at the Court’s convenience so that the Respondent may
             be heard or may address any concerns the Court might have that are raised in this
             matter; and
          d. Upon hearing and consideration, denying Ocwen’s motion; and
          e. Granting any other just relief.

Dated: August 24, 2018                         Respectfully submitted by
                                               Respondent Nicholas Heath Wooten,
                                               on behalf of Himself and all Respondents,

                                               /s/ Nick Wooten
                                               Nick Wooten
                                               NICK WOOTEN, LLC
                                               One of the Attorneys for Plaintiff Cain
                                               4935 Bay Hill Drive
                                               Conway, Arkansas 72034
                                               nick@nickwooten.com
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 24, 2018, I electronically filed the foregoing document
with the clerk of the court for Northern District of Illinois, using the electronic case filing system
of the court. The electronic case filing system sent a “Notice of E-Filing” to the attorneys of
record in this case.

                                               /s/ Nick Wooten
                                               Nick Wooten
                                               NICK WOOTEN, LLC
                                               One of the Respondents and
                                               One of the Attorneys for Plaintiff Cain
